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Case 1:17-cv-01426-RGA  Document
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Case 1:17-cv-01426-RGA  Document
           !"#$ %&'%%()*'!++ ,-.27-1
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